                Case 24-12480-LSS        Doc 829      Filed 01/24/25     Page 1 of 1


                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

                                                )       Chapter 11
In re:
                                                )       Case No. 24-12480 (JTD)
FRANCHISE GROUP, INC., et al.,
                                                )       (Jointly Administered)
          Debtors.
                                                )

                 MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the below certification, counsel moves for admission pro
hac vice of David E. Cohen of the law firm SWK Attorneys at Law to represent MJK Real Estate
Holding Company, LLC in the above-captioned cases.

Dated: January 24, 2025                  /s/ Susan E. Kaufman
                                         Susan E. Kaufman (DE Bar No. 3381)
                                         Law Office Of Susan E. Kaufman, LLC
                                         919 N. Market Street, Suite 460
                                         Wilmington, DE 19801
                                         Tel: (302) 472-7420 / Fax: (302) 792-7420
                                         skaufman@skaufmanlaw.com

           CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

        Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am
admitted, practicing, and in good standing as a member of the Bar of the State of Illinois, the United
States District Court for North District of Illinois and the Seventh Circuit Court of Appeals and
submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the
preparation or course of this action. I also certify that I am generally familiar with this Court's
Local Rules and with the Standing Order for District Court Fund revised December 21, 2023. I
further certify that the fee of $50.00 has been paid to the Clerk of Court for District Court.


                                         David E. Cohen
                                         SWK Attorneys at Law
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                                         Northbrook, Illinois 60062
                                         Direct Tel (312) 606-3451 / Main Tel (224) 260-3090
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                           ORDER GRANTING MOTION

       IT IS HEREBY ORDERED that counsel's motion for admission pro hac vice is granted.




    Dated: January 24th, 2025                            JOHN T. DORSEY
    Wilmington, Delaware                                 UNITED STATES BANKRUPTCY JUDGE
